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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
                                                       :
UNITED STATES OF AMERICA,                              :
                                                       :
                      -against-                        :
                                                       :      S1 17-cr-722 (VSB)
SAYFULLO HABIBULLAEVIC                                 :
SAIPOV,                                                :           ORDER
                                        Defendant. :
                                                       :
-------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        It is hereby ORDERED that the sentencing of Defendant Sayfullo Saipov shall take place

on Wednesday, May 17, 2023, at 9:00 A.M.

        IT IS FURTHER ORDERED that the sentencing will take place in Courtroom 24B.

Once Courtroom 24B reaches capacity, Courtroom 23B will be used as an overflow room. Any

victims and victim’s family members in attendance will be given priority seating in Courtroom

24B. See 18 U.S.C. § 3510. All other seating in Courtroom 24B—with the exception of limited

seating reserved for the media—will be available on a first-come, first-serve basis. Masking in

Courtroom 24B will be optional.

SO ORDERED.

Dated: April 17, 2023
       New York, New York                        ______________________
                                                 Vernon S. Broderick
                                                 United States District Judge
